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8                                 UNITED STATES DISTRICT COURT
9                                EASTERN DISTRICT OF CALIFORNIA
10
                                                     ) Case No.: 1:06-CR-00365-LJO-DLB
11   UNITED STATES OF AMERICA,                       )
                                                     ) WAIVER OF DEFENDANT’S PERSONAL
12                  Plaintiff,                       ) APPEARANCE
                                                     )
13          vs.                                      )
                                                     )
14   HUSAM SARAMA,                                   )
                                                     )
15                  Defendant                        )
16   TO:    THE UNITED STATES DISTRICT COURT; UNITED STATES ATTORNEY’S
17          OFFICE and/or ITS REPRESENTATIVES:
18          The Defendant Husam Sarama, having been advised of his right to be present at all stages
19   of proceedings, including, but not limited to, presentation of and arguments on questions of fact
20   and law, and to be confronted by and to cross-examine all witnesses, hereby waives the right to
21   be present at the hearing on any motion or other proceeding in this case. Examples of hearing
22   concerning which the defendant waives the right to be present include when the case is set for
23   trial, when a continuance is ordered, when a motion to set aside an indictment is heard, during a
24   plea or change of plea, during sentencing or any case disposition, when a motion for reduction of
25   bail or for a personal recognizance release is heard.
26          The undersigned Defendant requests the Court to proceed during every absence of the
27   Defendant that the Court may permit pursuant to this waiver, and hereby agrees that his interest
28   is represented at all times by the presence of his attorney the same as if the Defendant were




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1    personally present in court, and further agrees that notice to Defendant’s attorney that
2    Defendant’s presence in court on a particular day at a particular time is required is notice to the
3    Defendant of the requirement of Defendant’s appearance at that time and place.
4    Dated: May 9, 2012
                                                           /s/ Husam Sarama
5
                                                           ______________________________________
6                                                          HUSAM SARAMA

7

8    Dated: May 9, 2012                                    /s/ Jeffrey T. Hammerschmidt
                                                           ______________________________________
9
                                                           JEFFREY T. HAMMERSCHMIDT
10                                                         Attorney for Defendant, Husam Sarama

11
     IT IS SO ORDERED.
12

13                         Dated:   May 10, 2012                       /s/ Dennis L. Beck
14   DEAC_Signature-END:
                                                               UNITED STATES MAGISTRATE JUDGE

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